Case 2:18-mj-02076-DUTY Document 3 Filed 08/27/18 Page 1 of 1 Page |D #:111

/l(,') 93 (I\’e\'. IZ:`I)€U .S'eart'h and .S`el:m'e ll/'arra/ll ([’age 3)

 

 

 

 

Return
Case l\/r)l : Date and time warrant e,\:eculcd.' C¢')py aft/warrant and ini/'entor_\" left wilh.'
\ , » , _ ij ‘ s
2;18-¢\/\.1-2076 H/tu_/ 245 approve lU, 004/n 'vltctrlt;‘l¢ lldml\/l

 

lm/'emr.)r_v made in llte presence Q/`:

jar/ian L.ot/O ll'tLQ/»

 

[m>en/<)r_\) afl/le ])r<')])ert_v taken and name Qf`an_v })e)'sr)n(.s') As'ei:ed:

[Plcase provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (c.g., type ol`docurncnts, as opposed to “miscellaneous clocuments”) as well as the approximate
volume ol`any documents seized (>e.g., number ofbo);es). I'f reference is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

mem saul th rnA/\/ar/n<,(s~/rn/
iplm‘nq lend # F/VMi/BB`\/éijéi@@_ Wlilt E/t/M'l€c cat/ev
_ . s germane ><es'
fpl/mha §Qf¢al _ _ ah '

§'>; tva /`tag DQsKiar

 

C'ertl`fl`catir)n (bv officer present during the execution ot" the warrant)

 

l declare under penalty ofperjzlry that 1 am an ojj'icer who executed this warrant and that this inventory is earrect and
was returned along with the original Warrant to the desigllated_/`udge through utilng wit/t the Clerk's O/fic'e.

  

Date.‘ 3/2’5 /l&,

' d leer `.s' signature

Av.
W""

 

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Prr`//Ie¢[ name and IiI/e

 

 

AUSA: Tom Rybarczyk x8452

 

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